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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                           BOWLING GREEN DIVISION

 CIVIL ACTION 1:04-CV-132(M)


 DEBRA LYNN HONAKER                                                    PLAINTIFF


 V.


 INNOVA, INC. AND HSN LP                                               DEFENDANTS


                                 OPINION AND ORDER

        This matter is before the Court upon Plaintiff’s Motion to Set Aside the Opinion and

 Order entered on December 13, 2006. The Plaintiff also requests a hearing on the matter.

 The Court finds a hearing unnecessary. For the reasons stated herein, the Plaintiff’s Motion

 is DENIED [DN56]. Defendant’s Motion to Strike the Deposition of Edwin Zucker attached

 as an exhibit to Plaintiff’s Reply is GRANTED [DN 80].

 I. Facts

        Defendants filed a Motion to Exclude the Plaintiff Debra Lynn Honaker’s expert in

 November, 2006. Honaker responded, the Defendants’ reply followed on November 30,

 2006. The motion was then ripe, and the Court issued an opinion and order granting the

 Defendant’s Motion to Exclude on December 13, 2006. On the same day that the Court

 issued its opinion and order, Honaker filed a “Response to Reply” to the Defendants’ reply.

 Honaker now requests the court to set aside its order excluding her expert, submitting that
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 because the order was entered on the same day the “Response to Reply” was filed, the order

 should be vacated.

 II. Standard of Review

        The Plaintiff’s Motion to Set Aside will be reviewed as motion to reconsider. Motions

 to reconsider are treated as motions to alter or amend a judgment under Fed. R. Civ. Pro.

 59(e). McDowell v. Dynamics Corp. of Am., 931 F.2d 380, 382 (6th Cir. 1991). Rule 59(e)

 provides that a “motion to alter or amend a judgment shall be filed no later than 10 days after

 entry of the judgment.” Granting or denying “a Rule 59(e) motion is within the informed

 discretion of the district court.” Huff v. Metropolitan Life Ins. Co., 675 F.2d 119, 122 (6th

 Cir. 1982). The Plaintiff’s Motion to Set Aside, filed over a month after the entry of the

 relevant order, is procedurally time-barred. Nonetheless, in an abundance of caution, the

 Court will consider the merits of Honaker’s Motion.

 III. Discussion

        Plaintiff submits several reasons why the Court’s opinion and order excluding her

 expert should be set aside. The arguments will be addressed in turn.

        A. Failure to Consider a Surreply

        Honaker submits that the Court failed to consider her surreply before excluding Dr.

 Payne. Honaker filed a “response to reply” on the same day the order excluding the

 plaintiff’s expert was entered. The “response to reply” was what would ordinarily be termed

 a “surreply.” Local rules do not provide for the filing of a surreply. LR 7.1(d). As a matter

 of practice, parties who wish to file a surreply generally seek leave of the Court to have a

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 surreply considered. No such request was filed in this case. The Defendants’ Motion to

 Exclude was ripe for nearly two weeks before Honaker’s surreply was filed. Fully briefed

 and ripe for decision, the Court was not remiss to file the relevant opinion and order.

        The Court is under no duty to consider a surreply filed without leave of the Court.

 Nonetheless, the Court has considered the surreply upon its reconsideration of its decision

 entered on December 13. Nothing contained in the surreply would have altered or changed

 the Court’s findings. The surreply was largely composed of the deposition testimony of Dr.

 Fred Payne, which the Court had already seen and considered. Having now considered the

 surreply, the Court again finds that the testimony of Dr. Fred Payne does not comply with

 the standards of Daubert. See Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

 (1993).

        B. Dimensional Testing

        Honaker submits that Dr. Payne performed dimensional testing on the pressure

 cooker, and therefore completed tests and complied with the scientific method. The Court’s

 prior opinion acknowledged that Dr. Payne took exacting measurements of the pressure

 cooker. What he failed to do was complete any testing that would indicate how the

 measurements lead to a conclusion that the pot exploded after a flash vaporization. Dr.

 Payne himself admitted that it would be difficult to test his theory.          Dr. Payne’s

 measurements alone do not satisfy the Daubert standards of scientific testing. See Daubert,

 509 U.S. 579.



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        C. Peer Review

        Honaker submits that Dr. Payne’s theories were submitted to the peer review of the

 Defendants’ expert, Dr. Yow, and therefore should not be excluded. Further, Honaker

 submits that Edwin Zucker provided peer review. Dr. Payne acknowledged that his theory

 would be difficult to test, and that indeed, it had not been fully tested. Having failed to

 perform tests to buttress his theory, it is implausible that such theory or testing could be

 submitted to scientific peer review. Review by only one person does not constitute peer

 review. “[A] review of an examiner's results by a second examiner, particularly one who

 knows the first examiner's results, does not constitute meaningful peer review.” U.S. v.

 Sullivan, 246 F.Supp.2d 700, 703 (E.D.Ky., 2003). The opposing expert’s consideration of

 Dr. Payne’s theory does not constitute peer review in satisfaction of Daubert standards. See

 Daubert, 509 U.S. 579.

        In her reply regarding her Motion to Set Aside, Honaker submitted the deposition of

 Edwin Zucker, who was deposed as an expert witness in the case of Wise v. Innova,

 3:05cv53, W.Va. 2005. Honaker argues that Edwin Zucker’s testimony constitutes peer

 review of Dr. Payne’s deposition testimony. Zucker’s testimony occurred several months

 after that of Dr. Payne, and was not submitted to the Court until after Dr. Payne’s testmony

 was excluded. “[I]t is simply not reasonable after Daubert for a party initially to present ‘less

 than [her] best expert evidence in the expectation of a second chance’ to ‘shore[ ] up’ her

 case after her expert testimony is ruled inadmissible.” Pride v. BIC Corp. 218 F.3d 566, 581

 (6th Cir. 2000), citing Weisgram v. Marley Co., 528 U.S. 440, 455-56 (2000). Honaker has

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 attempted to buttress Dr. Payne’s testimony and create a second chance to introduce an

 expert by submitting the deposition of Zucker. Zucker’s expert testimony is not admissible

 because it is expert testimony not disclosed according to Fed. R. Civ. Pro. 26(a)(2). Federal

 Rules provide that when a party fails to make Rule 26 disclosures, and those failures are not

 harmless, the party may not use the non-disclosed evidence “at a trial, a hearing, or on a

 motion.” Fed. R. Civ. Pro. 37(c)(1); see also King v. Ford Motor Co., 209 F.3d 886, 900-901

 (6th Cir. 2000). Zucker’s testimony is non-disclosed expert testimony which would cause

 harm to the Defendants, since the Defendants did not defend against Zucker’s testimony in

 the case at bar. Zucker’s testimony does not substantiate the testimony of Dr. Payne because

 Zucker’s testimony does not lend credence to Dr. Payne’s theory about the cooker’s tabs.

 Further, the deposition is hereby stricken from the record and shall not be considered in other

 pending motions.

        D. Generally Accepted Theory

        Honaker’s final argument in favor of her Motion to Set Aside is that Dr. Payne’s

 theory is generally accepted in the engineering field. Fed. R. Evid. 702 provides:


        If scientific, technical, or other specialized knowledge will assist the trier of
        fact to understand the evidence or to determine a fact in issue, a witness
        qualified as an expert by knowledge, skill, experience, training, or education,
        may testify thereto in the form of an opinion or otherwise, if (1) the testimony
        is based upon sufficient facts or data, (2) the testimony is the product of
        reliable principles and methods, and (3) the witness has applied the principles
        and methods reliably to the facts of the case.

 Honaker submits that Rule 702 allows admission of testimony when a secondary or


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 competing principle is applied that is accepted within an area of expertise. Honaker further

 argues that Dr. Payne’s measurements constitute testing and are an accepted method for

 reaching scientific conclusion. Honaker cites Heller v. Shaw Industries for the proposition

 that expert testimony cannot be excluded because one test rather than another is used when

 both tests are accepted in the field and reach reliable results. Heller v. Shaw Industries, 167

 F.3d 146, 160 (3rd Cir. 1999). Dr. Payne did take measurements, which Honaker refers to

 as “dimensional testing.” Nothing in Dr. Payne’s deposition, however, actually indicates that

 his measurements should be analogized to testing. Nor has any evidence been submitted that

 taking measurements is an accepted or reliable way to explain an explosion of a pressure

 cooker. Dr. Payne’s measurements did not constitute testing and do not satisfy the standards

 of Daubert reliability. See Daubert, 509 U.S. 579 (1993).

 IV. Conclusion

        The arguments presented in the Motion to Set aside had previously been presented to

 and considered by the Court. For the reasons discussed here, Honaker’s Motion to Set Aside

 is DENIED [DN 56]. Defendant’s Motion to Strike Deposition of Edwin Zucker is

 GRANTED [DN 80].




                                                                            April 23, 2007




 cc: counsel of record

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